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September 2, 2021


VIA EMAIL
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Jim Keeler
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Hennepin County Attorney’s Office
A-2000 Government Center, MC 200
Minneapolis, MN 55487

RE:      Goyette et al. v. City of Minneapolis et al. (Civil Action No. 20-cv-01302 (D. Minn.))

Dear Jim,

Thank you for reaching out about the subpoena your client, the Hennepin County Sheriff’s
Office, received for records related to the arrest of CNN journalist Carolyn Sung in the above-
referenced case (the “Subpoena”).

As you know, on behalf of Ms. Sung, in the days after her wrongful arrest by the Department
of Public Safety and transfer into the custody of the Sheriff’s Office, we asked the Sheriff’s
Office to confirm it had purged all data related to Ms. Sung. It confirmed in an email dated
May 27, 2021 that it “has no data regarding Ms. Sung,” and thus we were disappointed to learn
that, in response to the Subpoena, several previously undisclosed documents were located,
including:

         1.       A video of a bus of arrestees arriving in the jail security garage of the Sheriff’s
                  Office and a number of passengers, possibly including Ms. Sung, disembarking;

         2.       A list of individuals, including Ms. Sung, who were arrested and transported to
                  the jail but not booked (the comments next to Ms. Sung’s name state “MSP
                  decided not to book. CNN reporter.”);

         3.       “Authority to detain” paperwork, which I understand was completed not by the
                  Sheriff’s Office but by the State Patrol and which purports to include a
                  “Statement of Probable Cause to Detain” that is, as discussed below, patently
                  false; and




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       4.      A handful of pages from a much longer report created by the Criminal
               Intelligence Division (“CID”) of the Sheriff’s Office that appears to be a
               compilation of photographs of those involved in “planned events, protests and
               rallies,” including Ms. Sung (for lack of a better word I refer to it hereafter as
               the “Dossier”).

First, we are concerned that all four categories of documents were not previously disclosed to
us when we asked that information gathered during Ms. Sung’s wrongful arrest and detention
be purged. Please explain how these documents were overlooked, only to be later found in
searching for documents responsive to the Subpoena.

Second, we are deeply concerned that the State Patrol’s Statement of Probable Cause to Detain
as it pertains to Ms. Sung is patently false. Ms. Sung did not “def[y] several dispersal orders.”
She was not “actively defiant,” she did not “refuse[] to leave the area,” she did not “participate[]
in vandalizing and rioting activity” and she did not have “to be restrained by several officers.”
Rather, as set forth in a letter dated April 17 that went to the Governor, DPS, and others,

       Carolyn Sung, an Asian-American CNN producer, was thrown to the ground
       and arrested by state troopers Tuesday night while trying to comply with a
       dispersal order. As Sung tried to leave the area as directed, troopers grabbed
       Sung by her backpack and threw her to the ground, zip-tying her hands behind
       her back. Sung did not resist and repeatedly identified herself as a journalist
       working for CNN and showed her credentials. A male security agent hired by
       CNN to work with Sung was briefly detained, but quickly released upon
       showing his credentials. Despite repeatedly hearing Sung identify herself as a
       member of the press and tell the troopers that the zip ties were too tight on her
       wrists, one trooper yelled at Sung, “Do you speak English?” Sung, whose
       primary language is English, was placed in a prisoner-transport bus and sent to
       the Hennepin County Jail, where she was patted down and searched by a female
       officer who put her hands down Sung’s pants and in her bra, fingerprinted,
       electronically body-scanned, and ordered to strip and put on an orange uniform
       before attorneys working on her behalf were able to locate her and secure her
       release, a process that took more than two hours.

Following the opening of an internal affairs investigation, Ms. Sung provided further details
about her mistreatment to DPS Investigator Jerry R. Cziok, at which time she also categorically
denied that she engaged in any unlawful conduct and affirmatively asserted that she acted with
the utmost respect and professionalism toward trained law enforcement officers who violated
her civil rights.

Ms. Sung is very concerned that the public disclosure of the false Statement of Probable Cause
to Detain could impact her personal and professional reputation. To that end, I requested that




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the State Patrol correct the false Statement of Probable Cause to Detain. Unfortunately, and
despite knowing its own document is false, the agency has refused to make any correction. I
therefore ask that you disclose this letter whenever you disclose the Statement of Probable
Cause to Detain to anyone, whether in response to this Subpoena or a future one.

Third, Ms. Sung is also very concerned by the Dossier. We understand that her photograph is
just one of dozens that the CID included in the Dossier, which appears to be a compilation of
individuals with whom the CID has crossed paths, and whom the CID may choose to profile
and monitor during future demonstrations. The Dossier is precisely the sort of record Ms. Sung
had in mind when she first requested that the Sheriff’s Office purge any information about her
that it possessed.

The fact that the Dossier exists and includes individuals doing nothing more than exercising
their constitutional rights is itself extremely troubling. But it is completely unacceptable that
the Sheriff’s Office retained this information after telling Ms. Sung that they had “no data”
regarding her. Ms. Sung demands an explanation regarding the purpose of the Dossier and the
reason her photograph was included in it, and she demands that her name and photograph be
deleted from this and all similar records after the Sheriff’s Office complies with its duties under
the Subpoena.

Finally, Ms. Sung is aware that there is a protective order in this case and that documents
responsive to the Subpoena could be disclosed as confidential or even attorneys’ eyes only.
However, Ms. Sung is a journalist, and she believes in transparency. Thus, she does not want
public records such as those responsive to the Subpoena here shielded from the public, and she
demands that you disclose them without restriction. This letter, the letter to the Governor, and
Ms. Sung’s statement to internal affairs collectively set the record straight regarding the
misconduct of those who arrested her, the poor judgment of those who would include her in the
Dossier, and the ineptitude of those who represented they had deleted her data.

I look forward to your response to Ms. Sung’s demands and requests for explanation. Thank
you for your attention to this matter.

Sincerely,




Leita Walker

cc:    Pari McGarraugh
       Kevin Riach
       Isabella Nascimento




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